






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00476-CR







Justin T. Conway, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT


NO. D-1-DC-06-202341, HONORABLE BOB PERKINS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Justin T. Conway seeks to appeal from a judgment of conviction for possession of
cocaine.  The trial court has certified that this is a plea bargain case and Conway has no right of
appeal.  See Tex. R. App. P. 25.2(a)(2).  The appeal is dismissed.  See id. rule 25.2(d).



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices Patterson and Pemberton

Dismissed for Want of Jurisdiction

Filed:   September 22, 2006

Do Not Publish


